Case 6:18-cv-01069-RBD-LRH Document 138 Filed 04/02/20 Page 1 of 2 PageID 3569



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 JOHN DOE,

        Plaintiff,

 v.                                                      Case No. 6:18-cv-1069-Orl-37LRH

 ROLLINS COLLEGE,

       Defendant.
 _____________________________________

                                          ORDER

        This matter is before the Court on Plaintiff’s Motion for a Preliminary Injunction.

 (Doc. 137 (“Motion”).) Due to the postponement of trial, Plaintiff asks the Court to

 prohibit Defendant “from imposing and reporting any disciplinary sanctions against

 Plaintiff related to the alleged sexual misconduct described in this Complaint pending

 the completion of trial and the consideration of permanent injunctive relief.” (Id. at 6.) A

 briefing schedule and hearing date for the Motion follow.

        It is ORDERED AND ADJUDGED:

        1.     The Court will TAKE UNDER ADVISEMENT Plaintiff’s Motion for a

               Preliminary Injunction (Doc. 137).

        2.     On or before Thursday, April 9, 2020, Plaintiff may file any further evidence

               or affidavits in support of the Motion.

        3.     On or before Friday, April 17, 2020, Defendant may file one consolidated

               response in opposition to the Motion, including all opposing affidavits.


                                             -1-
Case 6:18-cv-01069-RBD-LRH Document 138 Filed 04/02/20 Page 2 of 2 PageID 3570



       4.    On or before Wednesday, April 22, 2020, Plaintiff may file a reply to

             Defendant’s response. Plaintiff’s reply shall be directed only to Defendant’s

             response; shall not include any new issues, rebuttal affidavits, or other

             evidence in support; and shall not exceed five (5) pages.

       5.    This matter will be heard telephonically before the undersigned on

             Wednesday, April 29, 2020, at 10:00 a.m. A notice with call-in information

             will follow. Each side shall have thirty (30) minutes for oral argument. No

             evidence will be taken at the hearing.

       DONE AND ORDERED in Chambers in Orlando, Florida, on April 2, 2020.




 Copies to:
 Counsel of Record




                                          -2-
